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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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AMPLIFY CAR WASH ADVISORS LLC,                                :
                                                              :
                        Plaintiff,                            :      22-CV-5612 (JGK) (OTW)
                                                              :
                      -against-                               :      ORDER
                                                              :
CAR WASH ADVISORY LLC, et al.,
                                                              :
                        Defendants.                           :
                                                              :
                                                              :
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         ONA T. WANG, United States Magistrate Judge:

          The Court is in receipt of ECF 45. The parties are directed to meet and confer on their

discovery disputes. The Court does not anticipate granting an extension of the discovery

deadline set forth in the Case Management Plan. (ECF 44). The Court shall have a Status

Conference on May 18, 2023, at 10:30 a.m. in Courtroom 20D, 500 Pearl Street, New York, NY

10007. The parties shall file a joint proposed agenda for the Status Conference by May 12,

2023.


         SO ORDERED.



                                                                    s/ Ona T. Wang
Dated: March 22, 2023                                             Ona T. Wang
       New York, New York                                         United States Magistrate Judge
